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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

  THE STATE OF TEXAS, et al.,                     §
                                                  §
         Plaintiffs,                              §
  v.                                              §   Civil Action No. 4:20-cv-00957-SDJ
                                                  §
  GOOGLE LLC,                                     §
                                                  §
         Defendant.                               §

                                             ORDER

        Having considered Defendant Google LLC’s Unopposed Motion for Leave to File Under

 Seal Google’s Opening Brief to the Special Master for the April 4, 2024 Hearing, filed on March

 26, 2024, the Court finds that the document contains confidential information such that there is

 good cause to file it under seal. See Binh Hoa Le v. Exeter Fin. Corp., 990 F.3d 410, 419 (5th Cir.

 2021). It is therefore ORDERED that Google’s Motion should be GRANTED. It is further

 ORDERED that Google’s Opening Brief to the Special Master for the April 4, 2024 Hearing shall

 remain under seal.
